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                              UNITED STATES BANKRUPTCY COURT
                                 WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

  IN RE:                                          §           Case No. 20-10640-tmd
  EF-290, LLC                                     §
                                                  §
         Debtor                                   §           Chapter 11


                  NOTICE OF SALE AND STATEMENT OF SALE PROCEEDS

         COMES NOW EF-290, LLC (the “Debtor”) and files this Notice of Sale and Statement of

  Proceeds pursuant to Federal Rule of Bankruptcy Procedure 6004(f).

                          SALE PROCEEDS AND DISTRIBUTIONS

         On or about September 3, 2020, the Debtor completed the sale of certain assets (set forth

  below) as indicated in that certain Asset Purchase Agreement entered into between the Debtor and

  Infill Properties Two, LLC on or about September 1, 2020 (the “APA”) and approved by this

  Court’s order approving same (Docket No. 135). Pursuant to that closing, the Debtor received

  unallocated sale proceeds of $351,338.76, which was distributed as follows:

     •   $285,000 to Berkshire Bank as secured creditor

     •   $5,000 to Michael Colvard as Subchapter V Trustee

     •   $10,000 to Hajjar Peters as Debtor’s counsel

     •   $50,000 to Three Twenty-One Capital Partners, LLC as Investment Bankers

     •   $1,338.76 to Alpha-Omega Amusements, Inc. for cure costs

                                      PURCHASED ASSETS

  The Purchased Assets, as that term is used in the APA, assets sold are as follows:

     •   Except for the tangible and intangible personal property listed on Schedule 1.1(a) attached

         to the APA (the “Excluded Personal Property”), all personal property set forth on Schedule

         1.2(b) attached to the APA (the “Scheduled Personal Property”), together with all of
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         Seller’s right, title and interest in any additional personal property owned by Seller as of

         the date hereof and all of Seller’s right, title and interest in any personal property owned

         by Seller on the date of Closing, including, without limitation, all inventory, furniture,

         furnishings, fixtures, fittings, appliances, gaming and entertainment devices, apparatus,

         equipment, tools, machinery, maintenance supplies, heating, ventilating, air-conditioning,

         incinerating, lighting, plumbing and electrical fixtures, hot water heaters, furnaces, heating

         controls, motors and boiler pressure systems and equipment, contract rights, claims,

         systems, names, “doing business as” names, goodwill, trademarks, branding, websites,

         domain names, e-commerce names, social media accounts, email addresses, telephone

         numbers, facsimile numbers, logos, customer information, vendor information, books,

         records, files and other items of tangible and intangible personal property (collectively

         hereinafter referred to as the “Personal Property”).

     •   Licenses and Permits. Except for the Excluded Assets, to the extent assignable by Seller to

         Buyer all of Seller’s right, title and interest in and to licenses, permits, certificates of

         occupancy, or similar documents including those indicated on Schedule 1.3 (collectively,

         the “Licenses and Permits”).

     •   Assumed Contracts. All Seller’s right, title, and interest in the Contracts, Leases, Licenses,

         and Permits listed in Schedule 1.4 (the “Assumed Contracts”).

     •   Excluded Assets. Other than the Purchased Assets consisting of the Personal Property, the

         Licenses and Permits, and the Assumed Contracts, Buyer is not purchasing or acquiring,

         and Seller is not selling or assigning, any other assets, properties, rights or interests of

         Seller, and all such other assets, properties, rights and interests are expressly excluded from

         the Purchased Assets (the “Excluded Assets”) and nothing herein shall be deemed to sell,
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         transfer, assign or convey any of the Excluded Assets to Buyer. The Excluded Assets shall

         expressly include (i.e., exclude from the Purchased Assets) the Seller’s lease with BBCC

         Oak Hill, LLC, which shall be rejected by the Seller pursuant to 11 U.S.C. § 365(a).

  Schedule 1.2(b), which supplements the foregoing assets, includes the following:

  1. Trade names, trade-dress, “doing business as” names, goodwill, trademarks, branding, websites,

  domain names, e-commerce names, social media accounts, email addresses, telephone numbers,

  facsimile numbers, logos, customer information, vendor information, books, records, and files

  2. EF-290, LLC website

  3. Customer Email Lists through Mailchimp

  4. Clip N Climb

  5. Ballocity

  6. Laser Tag

  7. Time Freak Laser

  8. Bowling

  9. Bumper Cars

  10. Design Elements

  11. Ropes Course

  12. Kitchen Equipment

  13. Leasehold Improvements: A&G Electrical

  14. Leasehold Improvements: Viking Fence

  15. Leasehold Improvements: Regular Check

  16. Attractions: Laser Tag

  17. Leasehold Improvements: Signage
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  18. Leasehold Improvements: Hill Country Electrical

  19. Leasehold Improvements: LT Plumbing

  20. Dyezz Security Equipment

  21. TSYS/Transfirst

  22. Attractions: Arcade

  23. Intercar POS Equipment

  24. Attractions: Design Elements

  25. Furniture and Fixtures

  26. Kitchen Equipment

  27. Touch Bistro P.O.S System

  28. Attractions: Ballocity (2)

  29. A.V. Equipment

  30. Leasehold Improvements: Central Texas

  31. Bubble Column

  32. Attractions: Axe Throwing

  33. Leasehold Improvements: City of Austin-SBA

  34. Arcade Attraction Arcade

  35. Connect 4 Hoops



  Dated: September 10, 2020                         Respectfully submitted,

                                                    HAJJAR PETERS LLP

                                                    /s/Charlie Shelton
                                                    Charlie Shelton
                                                    Bar Number: 24079317
                                                    Todd Headden
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                                            cshelton@legalstrategy.com
                                            theadden@legalstrategy.com
                                            ATTORNEYS FOR DEBTOR
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                                   CERTIFICATE OF SERVICE

          The foregoing was served on September 10, 2020 via CM/ECF on all parties requesting
  service thereby. Additionally, on September 10, 2020 or within one business day thereafter, the
  Debtor mailed the foregoing via United States first class mail to the parties below and, additionally,
  emailed such parties where an email is address is listed.

   EF-290                                             Kell C. Mercer
   7101 Highway 71                                    1602 East Cesar Chavez Street
   Austin, TX 78735                                   Austin, Texas 78702

   Debtor                                             Counsel for Oak Hill
   United States First Class Mail                     Via CM/ECF and via e-mail to:
                                                      Kell.mercer@mercer-law-pc.com

   Michael Colvard                                    Marvin E. Sprouse III
   Martin & Drought, P.C.                             401 Congress Avenue, Suite 1540
   Weston Centre                                      Austin, TX 78701
   112 East Pecan Street, Suite 1616
   San Antonio, TX 78205                              Counsel for Equity
                                                      Via CM/ECF and via e-mail to:
   Subchapter V Trustee                               msprouse@sprousepllc.com
   Via CM/ECF and via e-mail to:
   mcolvard@mdtlaw.com


   Steven Bass                                        Alpha-Omega Amusement, Inc.
   U.S. Attorney’s Office                             Corporate Facility Location
   903 San Jacinto Blvd., Ste. 334                    12 Elkin Road
   Austin, TX 78701-2449                              East Brunswick, NJ 08816

   Counsel for the United States of America
   Via CM/ECF and via e-mail to:
   Steven.Bass@usdoj.gov


   Merchant Café Inc.                                 Google Fiber
   2306 Kuykendall                                    210 Colorado Street
   Georgetown, TX 78626-8182                          Austin, TX 78701


   Internal Revenue Service                           Texas Comptroller
   Centralized Insolvency Office                      P.O. Box 149359
   P.O. Box 7346                                      Austin, TX 78714
   Philadelphia, PA 19101-7346
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   State Comptroller                      Berkshire Bank
   111 E. 17th Street                     1787 Sentry Parkway West
   Austin, TX 78774                       Building 16, Suite 200
                                          Blue Bell, PA 19422

                                          United States First Class Mail

   United States Trustee                  Andrew Roggensack
   903 San Jacinto Blvd., Room 230        4115 Grand Ave.
   Austin, TX 78701                       Western Springs, IL 60558

   United States First Class Mail         United States First Class Mail

   ASKBR Investments, LLC                 Dave Paul
   C/O Andrew Roggensack                  1532 West 93rd Court
   4115 Grand Ave                         Crown Point, IN 46 46307
   Western Springs, IL 60558
                                          United States First Class Mail
   United States First Class Mail

   Chase Bank USA. N.A.                   Greg and Nancy Fernandez
   Attn: Keith W. Schuck                  19506 Gran Robe
   200 White Clay Center Dr.              San Antonio, TX 78258
   Newark, DE 19711-0000
                                          United States First Class Mail
   United States First Class Mail

   Eppen Entertainment Group, LLC         Robert and Connie Jirgl
   12700 Cricoli Drive                    P.O. Box 565
   Austin, TX 78739                       Dowagiac, MI 49047

   United States First Class Mail         United States First Class Mail

   U.S. Small Business Administration     BBCC Oak Hill
   Chief, AIB                             151 W. 6th Street
   409 3rd Street., SW                    Austin, TX 78703
   Washington, DC 20416
                                          Via U.S. First Class Mail
   United States First Class Mail


                                            /s/ Charlie Shelton
                                            Charlie Shelton
